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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    STRATEGIC OPERATIONS, INC.,                        Case No.: 17-CV-01539-JLS-WVG
12                                      Plaintiff,
                                                         ORDER CONTINUING JOINT
13    v.                                                 STATUS CONFERENCE AND CASE
                                                         MANAGEMENT CONFERENCE
14    BREA K. JOSEPH, an individual;
      KASEY EROKHIN, an individual; KBZ
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      FX, INC., an unknown business entity,
16    and KBZ FX, INC., a California
      corporation,
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                                     Defendants.
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           On August 6, 2019, this Court continued the Case Management Conference
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     (“CMC”) Court to August 16, 2019 at 8:00 A.M. and set a joint telephonic conference for
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     that same date and time, after the Parties indicated during the August 5, 2019 Early Neutral
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     Evaluation Conference that they were likely to reach resolution (Doc. No. 39). On August
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     15, 2019, the Parties informed this Court that they have indeed resolved this matter and are
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     presently finalizing the settlement agreement’s terms and conditions.
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           In light of the above circumstances, the Court hereby GRANTS the Parties’ request
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     to continue the joint status conference and RESETS it to August 30, 2019 at 11:00 A.M.
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     Relatedly, the Court ORDERS the Parties to file their Notice of Settlement no later than
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 1   August 29, 2019. The Parties shall provide Chambers through electronic mail their
 2   appearances and best phone numbers no later than August 26, 2019 to ensure that they
 3   can be reached without fail for the conference.
 4         Should the Parties fail to timely file their Notice of Settlement, the Court will
 5   proceed with holding the CMC on August 30, 2019, immediately following the joint status
 6   conference.
 7         IT IS SO ORDERED.
 8   Dated: August 15, 2019
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